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VIA ELECTRONIC FILING                                                                    March 28, 2022

Honorable Rosemary Gambardella
United States Bankruptcy Court
District of New Jersey
50 Walnut Street
3rd Floor
Newark, New Jersey 07102

        RE:     Jacobs v. Nationstar, et al
                Adversarial Proceeding No.: 16-01528-RG

Your Honor:
        My office represents non-party BSI Financial Services (“BSI”), the successor loan servicer to

defendant Nationstar Mortgage, LLC. We write in response to follow up on the letter we submitted on

March 7, 2022, regarding debtor Randall Jacobs’ (“Debtor”) loss mitigation application with BSI.

        As indicated in our prior letter, BSI denied Debtor’s loan modification application and his appeal

of the denial. However, following that denial, the Debtor, through counsel, submitted new financial

documents and BSI opened a new loan modification application file and began a new review of the file.

Based on that new application, on March 14, 2022, BSI did extend a loan modification offer to the

Debtor. This offer included a trial payment plan that would begin with the payment due April 1, 2022.

        On March 14, 2022, my office extended this offer to the officer of Debtor’s at John P. Fazzio, III,

Esq. To date, Mr. Fazzio has not indicated whether Debtor has accepted, or plans to accept, the offer.

        Please feel free to reach out to me should you have any questions or concerns.



                                                                FRIEDMAN VARTOLO LLP
                                                                /s Michael Eskenazi
                                                                Michael E. Eskenazi, Esq.




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